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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 RONALD BALL,                                 )
                                              )
                       Plaintiff,             )
        v.                                    )          1:13-cv-0643-SEB-TAB
                                              )
 THE CITY OF MUNCIE                           )
 AND DENNIS TYLER,                            )
                                              )
                       Defendants.            )

                        ORDER OF DISMISSAL WITH PREJUDICE

        Plaintiff, Ronald Ball, and Defendants, the City of Muncie and Dennis Tyler, by their

 respective counsel, filed their Stipulation of Dismissal with Prejudice.    The Court, having

 examined the Stipulation of Dismissal executed by Plaintiff and Defendants, by their respective

 counsel, finds that it should be APPROVED.

        IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED by the Court that

 all claims and demands for compensation, including attorney fees, asserted by Ronald Ball in the

 above cause of action against the City of Muncie and Dennis Tyler are dismissed with prejudice.

 Costs paid.

         12/31/2014
 DATED:___________________
                                                       _______________________________
                                                        SARAH EVANS BARKER, JUDGE
                                                        United States District Court
                                                        Southern District of Indiana




 As per L.R. 5.5(d):
       Service will be made electronically on all ECF-registered counsel of record via email
       generated by the court’s ECF system.
